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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS
                                                                                                                      Check if this is an
 Case number (if known):                                     Chapter       7                                          amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     EG2 Mobile Technology, LLC

2.   All other names debtor used       None
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           8      0      –      0      7        8     7         3   1     5

4.   Debtor's address                  Principal place of business                                      Mailing address, if different from principal
                                                                                                        place of business

                                       4800 Alliance Gateway Freeway
                                       Number         Street                                            Number     Street
                                       Suite 110
                                                                                                        P.O. Box



                                       Fort Worth                          TX        76177-3709
                                       City                                State     ZIP Code           City                          State   ZIP Code


                                                                                                        Location of principal assets, if different
                                       Tarrant                                                          from principal place of business
                                       County



                                                                                                        Number     Street




                                                                                                        City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor EG2 Mobile Technology, LLC                                                         Case number (if known)

7.   Describe debtor's business       A. Check one:

                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above


                                      B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in
                                           15 U.S.C. § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes

                                            8      1       1      2

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                        Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                           insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                           4/01/19 and every 3 years after that).

                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return or if
                                                               all of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                           Chapter 12

9.   Were prior bankruptcy                 No
     cases filed by or against
     the debtor within the last 8          Yes. District                                          When                      Case number
     years?                                                                                                MM / DD / YYYY

                                                District                                          When                      Case number
     If more than 2 cases, attach a
                                                                                                           MM / DD / YYYY
     separate list.
                                                District                                          When                      Case number
                                                                                                           MM / DD / YYYY



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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Debtor EG2 Mobile Technology, LLC                                                        Case number (if known)

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                  District                                                    When
    List all cases. If more than 1,                                                                                          MM / DD / YYYY
    attach a separate list.                       Case number, if known


                                                  Debtor                                                      Relationship

                                                  District                                                    When
                                                                                                                             MM / DD / YYYY
                                                  Case number, if known


11. Why is the case filed in          Check all that apply:
    this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                           days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                           any other district.

                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                           district.


12. Does the debtor own or                 No
    have possession of any                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                   needed.
    property that needs
                                                Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                     related assets or other options).

                                                     Other


                                                Where is the property?
                                                                              Number      Street




                                                                              City                                      State        ZIP Code

                                                Is the property insured?

                                                     No
                                                     Yes. Insurance agency

                                                              Contact name

                                                              Phone


              Statistical and adminstrative information
13. Debtor's estimation of            Check one:
    available funds                       Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
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Debtor EG2 Mobile Technology, LLC                                                        Case number (if known)

14. Estimated number of                     1-49                               1,000-5,000                               25,001-50,000
    creditors                               50-99                              5,001-10,000                              50,001-100,000
                                            100-199                            10,001-25,000                             More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 12/18/2017
                                                      MM / DD / YYYY

                                          X /s/ Steve Lee                                           Steve Lee
                                              Signature of authorized representative of debtor      Printed name

                                          Title CEO

18. Signature of attorney                X /s/ Michael F. Linz                                                    Date     12/18/2017
                                            Signature of attorney for debtor                                              MM / DD / YYYY

                                            Michael F. Linz
                                            Printed name
                                            Linz & Chandler, P.C.
                                            Firm name
                                            701 Commerce
                                            Number          Street
                                            Suite 400

                                            Dallas                                                     TX                   75202
                                            City                                                       State                ZIP Code


                                            (214) 748-1948                                             MFL@Linz-Law.com
                                            Contact phone                                              Email address
                                            12393800                                                   TX
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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 Fill in this information to identify the case
 Debtor name          EG2 Mobile Technology, LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
            No. Go to Part 2.
            Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    Checking account - BOA                                        Checking account                    7   7   7     2                     $26.33
3.2.    Checking account - Green Bank                                 Checking account                    1   2   2     4                    $674.16

3.3.    Checking account - Shinhan                                    Checking account                    7   0   7     5                    $466.05
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
                                                                                                                                            $1,166.54
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                           page 1
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Debtor         EG2 Mobile Technology, LLC                                                   Case number (if known)
               Name

                                                                                                                                  Current value of
                                                                                                                                  debtor's interest
7.     Deposits, including security deposits and utility deposits

       Description, including name of holder of deposit

7.1.    Gas Company Deposit                                                                                                                    $250.00
8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

       Description, including name of holder of prepayment

9.     Total of Part 2.
                                                                                                                                               $250.00
       Add lines 7 through 8. Copy the total to line 81.

 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

           No. Go to Part 4.
           Yes. Fill in the information below.
                                                                                                                                  Current value of
                                                                                                                                  debtor's interest
11. Accounts receivable

11a. 90 days old or less:                $0.00               –                 $0.00                  = .......................                   $0.00
                             face amount                         doubtful or uncollectible accounts

11b. Over 90 days old:               $708,467.50             –                 $0.00                  = .......................           $708,467.50
                             face amount                         doubtful or uncollectible accounts

12. Total of Part 3
                                                                                                                                          $708,467.50
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4: Investments

13. Does the debtor own any investments?

           No. Go to Part 5.
           Yes. Fill in the information below.
                                                                                             Valuation method                     Current value of
                                                                                             used for current value               debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

          Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

      Name of entity:                                          % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                  $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

           No. Go to Part 6.
           Yes. Fill in the information below.




Official Form 206A/B                             Schedule A/B: Assets -- Real and Personal Property                                                   page 2
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Debtor        EG2 Mobile Technology, LLC                                               Case number (if known)
              Name

     General description                          Date of the      Net book value of    Valuation method           Current value of
                                                  last physical    debtor's interest    used for current value     debtor's interest
                                                  inventory        (Where available)
19. Raw materials                                 MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

     Inventory                                    10/31/2017                            Pruchase Price                     $571,256.75
23. Total of Part 5
                                                                                                                           $571,256.75
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

          No. Go to Part 7.
          Yes. Fill in the information below.

     General description                                           Net book value of    Valuation method           Current value of
                                                                   debtor's interest    used for current value     debtor's interest
                                                                   (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                   $0.00

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                  No
                  Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                     page 3
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Debtor        EG2 Mobile Technology, LLC                                                 Case number (if known)
              Name

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes

 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

          No. Go to Part 8.
          Yes. Fill in the information below.

     General description                                            Net book value of     Valuation method           Current value of
                                                                    debtor's interest     used for current value     debtor's interest
                                                                    (Where available)
39. Office furniture

     Furniture & Fixture                                                    $46,984.00    1/2 purchase price                   $23,492.00
     Office Furniture & Equiptments                                         $10,250.00    1/2 the purchase price               $11,297.40
40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                               $34,789.40

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes

 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

          No. Go to Part 9.
          Yes. Fill in the information below.

     General description                                            Net book value of     Valuation method           Current value of
     Include year, make, model, and identification numbers          debtor's interest     used for current value     debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

47.1. Lexus ES300                                                                         NADA - Blue Book Value                     $0.00
47.2. 2013 Nissan Sentra                                                                  NADA - Blue Book Vaule                     $0.00

47.3. 2012 Nissan Sentra                                                                  NADA - Blue Book Value                   $41.00

47.4. 2017 Toyota Corolla IM                                                              NADA - Blue Book Value                     $0.00




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                       page 4
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Debtor        EG2 Mobile Technology, LLC                                               Case number (if known)
              Name

48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

49.1. Leasehold Improvement                                             $172,894.79     No resale value                         $0.00
50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

     Air Compressor                                                        $9,197.00    1/2 the purchase price            $12,278.25
     Apex Polishing                                                      $53,740.00     1/2 the purchase price            $78,293.35
     Auto Clave                                                            $8,344.00    1/2 the purchase price            $12,310.60
     Cleanroom                                                           $91,224.00     1/2 the purchase price           $134,560.78
     Coating Machine                                                    $109,827.00     1/2 the purchase price           $162,051.16
     Conveyor Belts                                                      $15,886.00     1/2 the purchase price            $17,084.13
     Freezer Glass Removal                                                 $7,650.00    1/2 the price purchase             $3,825.00
     G & Tech Polishing                                                  $20,767.00     1/2 the purchase price            $30,641.72
     Heat Dryer                                                            $3,902.00    1/2 the purchase price             $5,757.11
     Laminating Machine (1)                                             $130,992.00     1/2 the purchase price           $193,281.10
     Laminating Machine (2)                                             $153,463.00     1/2 the purchase price           $161,208.50
     Laminating Machine (3)                                             $152,127.00     1/2 the purchase price           $158,500.00
     LCD Flex/Test Machine                                               $23,450.00     1/2 the price purchase            $11,725.00
     Nitrogen Separator                                                    $6,847.00    1/2 the purchase price            $10,103.13
     POL Machine                                                           $3,686.00    1/2 the price purchase             $1,843.00
     Wire Cutter                                                           $3,727.00    1/2 the purchase price             $5,500.00
     OCA /Bezel Press Machine                                            $28,247.00     1/2 the price purchase            $14,123.50
     Production Chairs                                                     $2,516.81    1/2 the price purchase             $1,258.40
     Conveyor Belt                                                       $12,059.00     1/2 the price purchase            $17,084.13
51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                        $1,031,469.86

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes

 Part 9: Real property

54. Does the debtor own or lease any real property?

          No. Go to Part 10.
          Yes. Fill in the information below.




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                              page 5
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Debtor       EG2 Mobile Technology, LLC                                                  Case number (if known)
             Name

55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property          Nature and extent       Net book value of     Valuation method       Current value of
       Include street address or other description   of debtor's interest    debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),         in property             (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

55.1. 4800 Alliance Gateway Freeway
       Fort Worth, TX 76177
       4800 Alliance Gateway Freeway, Fort
       Worth, TX 76177
       That certain space commonly known
       as Suite No. 110, containing 26,769
       rentable square feet, in the building
       commonly known as Gateway 15
       (the "Building").                             Lease                                $0.00                                           $0.00
56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                          $0.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
                                                                                                                                          $0.00
    Add lines 60 through 65. Copy the total to line 89.

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 6
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Debtor       EG2 Mobile Technology, LLC                                                  Case number (if known)
             Name

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                     Current value of
                                                                                                                     debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
                                                                                                                                     $0.00
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                       page 7
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Debtor           EG2 Mobile Technology, LLC                                                                          Case number (if known)
                 Name


 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                              $1,166.54
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                               $250.00

82. Accounts receivable. Copy line 12, Part 3.                                             $708,467.50

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                       $571,256.75

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                               $34,789.40
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                 $1,031,469.86
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................               $0.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +                  $0.00

91. Total. Add lines 80 through 90 for each column.                        91a.         $2,347,400.05            +     91b.                  $0.00


                                                                                                                                                                $2,347,400.05
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                        page 8
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 Fill in this information to identify the case:
 Debtor name          EG2 Mobile Technology, LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number                                                                                                       Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          Green Bank, N.A                                  subject to a lien                                    $375,000.00              $1,819,978.40

          Creditor's mailing address                       LOC
          4000 Greenbriar St                               Describe the lien
                                                           Line of Credit / Agreement
                                                           Is the creditor an insider or related party?
          Houston                    TX   77098-5204            No
                                                                Yes
          Creditor's email address, if known
                                                           Is anyone else liable on this claim?
          Date debt was incurred                               No
                                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                   Contingent
              No                                               Unliquidated
              Yes. Specify each creditor, including this       Disputed
              creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                              $1,596,550.23


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                             page 1
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Debtor       EG2 Mobile Technology, LLC                                                      Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.2     Creditor's name                                     Describe debtor's property that is
         Green Bank, N.A.                                    subject to a lien                                    $372,874.06           $1,819,978.40

         Creditor's mailing address                          Equiptment Loan
         4000 Greenbriar St                                  Describe the lien
                                                             Agreement
                                                             Is the creditor an insider or related party?
         Houston                    TX       77098-5204           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.3     Creditor's name                                     Describe debtor's property that is
         Green Bank, N.A.                                    subject to a lien                                    $811,518.26           $1,819,978.40

         Creditor's mailing address                          Equiptment Loan
         4000 Greenbriar St                                  Describe the lien
                                                             Promissory Note / Agreement
                                                             Is the creditor an insider or related party?
         Houston                    TX       77098-5204           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          2    7   9    6     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
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Debtor       EG2 Mobile Technology, LLC                                                      Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.4     Creditor's name                                     Describe debtor's property that is
         Toyota Financial Services                           subject to a lien                                     $11,477.00              $31,420.00

         Creditor's mailing address                          Lexus ES300
         PO Box 8026                                         Describe the lien
                                                             Lease / Agreement
                                                             Is the creditor an insider or related party?
         Cedar Rapids               IA       52409-8026           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          N    7   2    2     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.5     Creditor's name                                     Describe debtor's property that is
         Toyota Financial Services                           subject to a lien                                     $10,415.91                $8,026.00

         Creditor's mailing address                          2013 Nissan Sentra
         PO Box 8026                                         Describe the lien
                                                             Auto Loan / Agreement
                                                             Is the creditor an insider or related party?
         Cedar Rapids               IA       52409-8026           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          0    7   8    4     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3
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Debtor       EG2 Mobile Technology, LLC                                                      Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.6     Creditor's name                                     Describe debtor's property that is
         Toyota Financial Services                           subject to a lien                                       $7,050.00               $7,091.00

         Creditor's mailing address                          2012 Nissan Sentra
         PO Box 8026                                         Describe the lien
                                                             Auto Loan / Agreement
                                                             Is the creditor an insider or related party?
         Cedar Rapids               IA       52409-8026           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          0    7   8    1     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.7     Creditor's name                                     Describe debtor's property that is
         Toyota Financial Services                           subject to a lien                                       $8,215.00             $15,386.00

         Creditor's mailing address                          2017 Toyota Corolla IM
         PO Box 8026                                         Describe the lien
                                                             Lease / Agreement
                                                             Is the creditor an insider or related party?
         Cedar Rapids               IA       52409-8026           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          L    6   0    0     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4
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 Fill in this information to identify the case:
 Debtor                EG2 Mobile Technology, LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number                                                                                                   Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:          List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1     Priority creditor's name and mailing address       As of the petition filing date, the
                                                                claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
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Debtor          EG2 Mobile Technology, LLC                                              Case number (if known)

 Part 2:         List All Creditors with NONPRIORITY Unsecured Claims

3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
       claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim

     3.1     Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                    Check all that apply.
8x8, Inc                                                                Contingent
2125 O'Nel Dr                                                           Unliquidated
                                                                        Disputed

                                                                    Basis for the claim:
San Jose                                  CA       95131            Business Debt

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number           1    5    9   6                Yes


     3.2     Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $192.18
                                                                    Check all that apply.
Airgas USA LLC                                                          Contingent
PO Box 676015                                                           Unliquidated
                                                                        Disputed

                                                                    Basis for the claim:
Dallas                                    TX       75267-6015       Business Debt

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number           1    7    0   6                Yes


     3.3     Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                    Check all that apply.
Alleviance Inc                                                          Contingent
2000 E Lamar Blvd                                                       Unliquidated
                                                                        Disputed
Suite 320
                                                                    Basis for the claim:
Arlington                                 TX       76006            Business Debt

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.4     Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                    Check all that apply.
Atmos Energy                                                            Contingent
2607 Logan St                                                           Unliquidated
                                                                        Disputed

                                                                    Basis for the claim:
Dallas                                    TX       75215            Business Debt

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number           6    1    2   1                Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
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Debtor        EG2 Mobile Technology, LLC                                            Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

  3.5      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $720.00
                                                                Check all that apply.
CEKO Co, Ltd                                                        Contingent
4F Joong'Il, Eines Platz III,                                       Unliquidated
                                                                    Disputed
442-13 Sangdaewon-dong, Jungwon-gu,
Seongnam-si,Gyeonggi-do,Korea                                   Basis for the claim:
                                                                Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number        0    5    0   2               Yes


  3.6      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                        $0.00
                                                                Check all that apply.
Coway                                                               Contingent
2225 E Belt Line Rd                                                 Unliquidated
                                                                    Disputed
Suite 210
                                                                Basis for the claim:
Carrollton                             TX       75006           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number        1    7    0   8               Yes


  3.7      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                        $0.00
                                                                Check all that apply.
Crown Packaging Corp                                                Contingent
PO Box 952339                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
St Louis                               MO       63195           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number        2    0    1   7               Yes


  3.8      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:               $990,016.02
                                                                Check all that apply.
Effex Management Solutions, LLC                                     Contingent
1302 Kingwood Drive                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Kingwood                               TX       77339-3038      Staffing

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number        5    3    2   8               Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 3
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Debtor       EG2 Mobile Technology, LLC                                             Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

  3.9     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00
                                                                Check all that apply.
EZS Technology, Inc                                                 Contingent
915 Enterprise Blvd                                                 Unliquidated
                                                                    Disputed
Suite 100
                                                                Basis for the claim:
Allen                                  TX       75013           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.10     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00
                                                                Check all that apply.
Granite                                                             Contingent
100 Newport Ave Ext.                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Quincy                                 MA       02171           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       8     2    8   4               Yes


 3.11     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00
                                                                Check all that apply.
Guard Texas                                                         Contingent
PO Box 850356                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Richardson                             TX       75085-0356      Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     1    5   1               Yes


 3.12     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00
                                                                Check all that apply.
Guardian                                                            Contingent
PO Box 824404                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Philadelphia                           PA       19182-4404      Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 4
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Debtor       EG2 Mobile Technology, LLC                                             Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

 3.13     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                 $5,150.00
                                                                Check all that apply.
Iones Co Ltd                                                        Contingent
2061 Anseong-daero                                                  Unliquidated
                                                                    Disputed
Gosam-myeon, Anseong, 17505
Gyeonggi-do, South Korea                                        Basis for the claim:
                                                                Business Debt

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.14     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00
                                                                Check all that apply.
JPI Corporation                                                     Contingent
1207 Hyundai Office Bldg                                            Unliquidated
                                                                    Disputed
9-4 Sunae-dong, Bundang-Gu Seongnam-city
Gyeonggi-do, South Korea                                        Basis for the claim:
                                                                Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.15     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:               $220,000.00
                                                                Check all that apply.
Kwangjin Park                                                       Contingent
1032 Hosington Dr                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Plano                                  TX       75094           Buyout Agreement

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.16     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:               $853,427.46
                                                                Check all that apply.
Kyu Taek Cho                                                        Contingent
24 Burning Hollow Rd                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Saddle River                           NJ       07458           Loan, Repurchase and Interest

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 5
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Debtor       EG2 Mobile Technology, LLC                                             Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

 3.17     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                $38,919.45
                                                                Check all that apply.
MD Martin Staffing                                                  Contingent
PO Box 39000                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Francisco                          CA       94139           Staffing

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.18     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                 $5,757.90
                                                                Check all that apply.
Phisco                                                              Contingent
2364 Paseo De Las Americas 104-367                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Diego                              CA       92154           Product Supplier

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       3     2    8   3               Yes


 3.19     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00
                                                                Check all that apply.
Pronto                                                              Contingent
7420 S. Cooper Street                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Arlington                              TX       76001           Shipping Logistics

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       5     6    0   5               Yes


 3.20     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                $85,089.00
                                                                Check all that apply.
Q1 Supply                                                           Contingent
Unit 1201 Ricky Center                                              Unliquidated
                                                                    Disputed
Chung Yip St 36
Kuntong, Kowloon, Hong Kong                                     Basis for the claim:
                                                                Parts Supplier

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 6
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Debtor       EG2 Mobile Technology, LLC                                             Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

 3.21     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                $84,829.20
                                                                Check all that apply.
Si Kang Global Trading Limited                                      Contingent
7/F, Spa Centre                                                     Unliquidated
                                                                    Disputed
53-55 Lockhart Road
Wan Chai, HK Wanchai, Hong Kong                                 Basis for the claim:
                                                                Parts Supplier

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.22     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00
                                                                Check all that apply.
Tara Energy                                                         Contingent
PO Box 301438                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75303-1410      Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     0    0   2               Yes


 3.23     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00
                                                                Check all that apply.
TD Industries                                                       Contingent
PO Box 300008                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75303-0008      Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       C     H    0   0               Yes


 3.24     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00
                                                                Check all that apply.
TestEquity, LLC                                                     Contingent
2434 McIver Lane                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Carrollton                             TX       75006           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       2     0    1   7               Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 7
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Debtor       EG2 Mobile Technology, LLC                                             Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

 3.25     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00
                                                                Check all that apply.
The Hartford Financial Services Group                               Contingent
PO Box 660916                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75266-0916      Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       7     5    4   8               Yes


 3.26     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00
                                                                Check all that apply.
Top Trans Logistics, LLC                                            Contingent
4500 Satellite Blvd                                                 Unliquidated
                                                                    Disputed
Suite 2200
                                                                Basis for the claim:
Duluth                                 GA       30096           Business Debt

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     5    8   6               Yes


 3.27     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00
                                                                Check all that apply.
Tyco Ingrated Security                                              Contingent
4700 Exchange Court                                                 Unliquidated
                                                                    Disputed
Suite 300
                                                                Basis for the claim:
Boca Raton                             FL       33431           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     8    3   8               Yes


 3.28     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                 $1,271.67
                                                                Check all that apply.
ULine                                                               Contingent
PO Box 88741                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Chicago                                IL       60680-1741      Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       6     5    9   7               Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 8
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Debtor       EG2 Mobile Technology, LLC                                             Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

 3.29     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00
                                                                Check all that apply.
UPS                                                                 Contingent
Lockbox 577                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Carol Stream                           IL       60132-0577      Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       E     3    1   7               Yes


 3.30     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00
                                                                Check all that apply.
Waste Management Hauling                                            Contingent
PO Box 660345                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       76112-0345      Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       3     0    0   1               Yes


 3.31     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00
                                                                Check all that apply.
XO Communications                                                   Contingent
8851 Sandy Pkwy                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Sandy                                  UT       84070           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       8     1    6   7               Yes


 3.32     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:               $576,692.70
                                                                Check all that apply.
Yezone                                                              Contingent
RM409, JinChen Plaza                                                Unliquidated
                                                                    Disputed
Baiyun District
Guangzhou, China                                                Basis for the claim:
                                                                Parts Supplier

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 9
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Debtor        EG2 Mobile Technology, LLC                                                   Case number (if known)

 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      Tailim Song Law Firm                                                  Line    3.15
         13140 Coit Rd                                                                Not listed. Explain:
         Suite 350


         Dallas                        TX      75240




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                           page 10
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Debtor      EG2 Mobile Technology, LLC                                        Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                       $0.00

5b. Total claims from Part 2                                                              5b.   +          $2,862,065.58


5c. Total of Parts 1 and 2                                                                5c.              $2,862,065.58
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 11
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 Fill in this information to identify the case:
 Debtor name         EG2 Mobile Technology, LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number                                                  Chapter       7                                      Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       Business Building - Lease                       At Industrial Owner 7 LLC
          or lease is for and the       Agreement                                       c/o Hillwood Alliance Services LLA
          nature of the debtor's
          interest                                                                      13600 Hertiage Parkway, Suite 200

          State the term remaining      11/30/2022
          List the contract
                                                                                       Fort Worth                          TX            76177
          number of any
          government contract

2.2       State what the contract       Vehicle lease - Lexus ES300                     Toyota Financial Services
          or lease is for and the
                                                                                        PO Box 8026
          nature of the debtor's
          interest

          State the term remaining      08/02/19
          List the contract
                                                                                       Cedar Rapids                        IA            52409-8026
          number of any
          government contract

2.3       State what the contract       Vehicle Purchase - 2013 Nissan                  Toyota Financial Services
          or lease is for and the       Sentra                                          PO Box 8026
          nature of the debtor's
          interest

          State the term remaining      08/26/2022
          List the contract
          number of any
                                                                                       Cedar Rapids                        IA            52409-8026
          government contract

2.4       State what the contract       Vehicle Purchase - 2012 Nissan                  Toyota Financial Services
          or lease is for and the       Sentra                                          PO Box 8026
          nature of the debtor's
          interest

          State the term remaining      08/24/2021
          List the contract
          number of any
                                                                                       Cedar Rapids                        IA            52409-8026
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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Debtor       EG2 Mobile Technology, LLC                                           Case number (if known)



          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

      List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                parties with whom the debtor has an executory
                                                                                contract or unexpired lease

2.5       State what the contract      Vehicle Lease - 2017 Toyota Corolla      Toyota Financial Services
          or lease is for and the      IM                                       PO Box 8026
          nature of the debtor's
          interest

          State the term remaining     08/24/2021
          List the contract
                                                                                Cedar Rapids                    IA        52409-8026
          number of any
          government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                     page 2
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 Fill in this information to identify the case:
 Debtor name         EG2 Mobile Technology, LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number                                                                                                        Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Hawk Jung                       6811 Lee Meadow Dr                                     Green Bank, N.A.                      D
                                       Number      Street                                                                           E/F
                                                                                                                                    G

                                       Frisco                         TX       75035
                                       City                           State    ZIP Code


2.2    Hawk Jung                       6811 Lee Meadow Dr                                     Green Bank, N.A.                      D
                                       Number      Street                                                                           E/F
                                                                                                                                    G

                                       Frisco                         TX       75035
                                       City                           State    ZIP Code


2.3    Hawk Jung                       6811 Lee Meadow Dr                                     Green Bank, N.A                       D
                                       Number      Street                                                                           E/F
                                                                                                                                    G

                                       Frisco                         TX       75035
                                       City                           State    ZIP Code


2.4    Steve Lee                       1016 Damsel Caroline Dr                                Toyota Financial                      D
                                       Number      Street                                     Services                              E/F
                                                                                                                                    G

                                       Lewisville                     TX       75056
                                       City                           State    ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
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Debtor       EG2 Mobile Technology, LLC                                             Case number (if known)



          Additional Page if Debtor Has More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                             Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                    Name                       that apply:

2.5   Steve Lee                     1016 Damsel Caroline Dr                            Toyota Financial                   D
                                    Number     Street                                  Services                           E/F
                                                                                                                          G

                                    Lewisville                  TX       75056
                                    City                        State    ZIP Code


2.6   Steve Lee                     1016 Damsel Caroline Dr                            Toyota Financial                   D
                                    Number     Street                                  Services                           E/F
                                                                                                                          G

                                    Lewisville                  TX       75056
                                    City                        State    ZIP Code


2.7   Steve Lee                     1016 Damsel Caroline Dr                            Toyota Financial                   D
                                    Number     Street                                  Services                           E/F
                                                                                                                          G

                                    Lewisville                  TX       75056
                                    City                        State    ZIP Code


2.8   Steve Lee                     1016 Damsel Caroline Dr                            Green Bank, N.A                    D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Lewisville                  TX       75056
                                    City                        State    ZIP Code


2.9   Steve Lee                     1016 Damsel Caroline Dr                            Green Bank, N.A.                   D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Lewisville                  TX       75056
                                    City                        State    ZIP Code


2.10 Steve Lee                      1016 Damsel Caroline Dr                            Green Bank, N.A.                   D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Lewisville                  TX       75056
                                    City                        State    ZIP Code




Official Form 206H                                       Schedule H: Codebtors                                                   page 2
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 Fill in this information to identify the case:


 Debtor Name EG2 Mobile Technology, LLC

 United States Bankruptcy Court for the:                   NORTHERN DISTRICT OF TEXAS


 Case number (if known):                                                                                                                                                            Check if this is an
                                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                               12/15



 Part 1:           Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                 $0.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                $2,347,400.05
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                                 $2,347,400.05
         Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:           Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                    $1,596,550.23
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D......................................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                 $0.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F........................................................................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                              + $2,862,065.58
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F.............................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................ $4,458,615.81




Official Form 206Sum                                         Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case and this filing:
 Debtor Name         EG2 Mobile Technology, LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
            or another individual serving as a representative of the debtor in this case.

            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
            correct:


                 Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                 Amended Schedule

                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                 (Official Form 204)

                 Other document that requires a declaration


            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on 12/18/2017                       X /s/ Steve Lee
                        MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                             Steve Lee
                                                             Printed name
                                                             CEO
                                                             Position or relationship to debtor




Official Form B202                     Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name        EG2 Mobile Technology, LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

         None

Identify the beginning and ending dates of the debtor's fiscal year,            Sources of revenue                            Gross revenue
which may be a calendar year                                                    Check all that apply.                         (before deductions
                                                                                                                              and exclusions


From the beginning of the                                                           Operating a business
                                 From      01/01/2017     to   Filing date
fiscal year to filing date:                                                         Other                                        $8,180,648.84
                                        MM / DD / YYYY

                                                                                    Operating a business
For prior year:                  From      01/01/2016     to    12/31/2016
                                        MM / DD / YYYY         MM / DD / YYYY       Other                                        $9,254,404.00

                                                                                    Operating a business
For the year before that:        From      01/01/2015     to    12/31/2015
                                        MM / DD / YYYY         MM / DD / YYYY       Other                                       $10,428,915.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         None

 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
     adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         None

      Creditor's name and address                              Dates            Total amount or value      Reasons for payment or transfer
                                                                                                           Check all that apply
3.1. ULine                                                     Oct - 2017            $11,609.58               Secured debt
      Creditor's name                                          Nov - 2017
      PO Box 88741                                                                                            Unsecured loan repayments
      Street                                                                                                  Suppliers or vendors
                                                                                                              Services
      Chicago                         IL       60680-1741                                                     Other
      City                            State    ZIP Code




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
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Debtor         EG2 Mobile Technology, LLC                                        Case number (if known)
               Name

      Creditor's name and address                        Dates           Total amount or value    Reasons for payment or transfer
                                                                                                  Check all that apply
3.2. Crown Packaging Corp                                Oct - 2017           $12,008.17              Secured debt
      Creditor's name                                    Nov - 2017
      PO Box 952339                                                                                   Unsecured loan repayments
      Street                                                                                          Suppliers or vendors
                                                                                                      Services
      St Louis                      MO      63195                                                     Other
      City                          State   ZIP Code

      Creditor's name and address                        Dates           Total amount or value    Reasons for payment or transfer
                                                                                                  Check all that apply
3.3. TestEquity, LLC                                     Nov - 2017            $6,728.22              Secured debt
      Creditor's name
      2434 Mclver Lane                                                                                Unsecured loan repayments
      Street                                                                                          Suppliers or vendors
                                                                                                      Services
      Carrollton                    TX      75006                                                     Other
      City                          State   ZIP Code

      Creditor's name and address                        Dates           Total amount or value    Reasons for payment or transfer
                                                                                                  Check all that apply
3.4. Guard Texas                                         Sept - 2017          $16,938.71              Secured debt
      Creditor's name                                    Oct - 20147
      PO Box 850356                                                                                   Unsecured loan repayments
                                                         Nov - 2017
      Street                                                                                          Suppliers or vendors
                                                                                                      Services
      Richardson                    TX      75085-0356                                                Other
      City                          State   ZIP Code

      Creditor's name and address                        Dates           Total amount or value    Reasons for payment or transfer
                                                                                                  Check all that apply
3.5. Tara Energy                                         Sept - 2017          $19,406.33              Secured debt
      Creditor's name                                    Oct - 2017
      PO Box 301438                                                                                   Unsecured loan repayments
                                                         Nov - 2017
      Street                                                                                          Suppliers or vendors
                                                                                                      Services
      Dallas                        TX      75303-1410                                                Other
      City                          State   ZIP Code

      Creditor's name and address                        Dates           Total amount or value    Reasons for payment or transfer
                                                                                                  Check all that apply
3.6. Phisco                                              Sept - 2017          $14,063.54              Secured debt
      Creditor's name                                    Oct - 2017
      2364 Paseo De Las Americas                                                                      Unsecured loan repayments
                                                         Nov - 2017
      Street                                                                                          Suppliers or vendors
      Suite 104-367                                                                                   Services
      San Diego                     Ca      92154                                                     Other
      City                          State   ZIP Code

      Creditor's name and address                        Dates           Total amount or value    Reasons for payment or transfer
                                                                                                  Check all that apply
3.7. Effex Management Solutions, LLC                     Seot - 2017         $700,000.00              Secured debt
      Creditor's name                                    Oct - 2017
      1302 Kingwood Drive                                                                             Unsecured loan repayments
                                                         Nov - 2017
      Street                                                                                          Suppliers or vendors
                                                                                                      Services
      Kingwood                      TX      77339-3039                                                Other Staffing
      City                          State   ZIP Code




Official Form 207              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 2
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Debtor         EG2 Mobile Technology, LLC                                        Case number (if known)
               Name

      Creditor's name and address                        Dates           Total amount or value    Reasons for payment or transfer
                                                                                                  Check all that apply
 3.8. Alleviance Inc                                     Oct - 2017           $24,406.80              Secured debt
      Creditor's name                                    Nov - 2017
      2000 E Lamar Blvd                                                                               Unsecured loan repayments
      Street                                                                                          Suppliers or vendors
      Suite 320                                                                                       Services
      Arlington                     TX      46006                                                     Other
      City                          State   ZIP Code

      Creditor's name and address                        Dates           Total amount or value    Reasons for payment or transfer
                                                                                                  Check all that apply
 3.9. At Industrial Owner 7 LLC                          Sept - 2017          $20,046.00              Secured debt
      Creditor's name                                    Oct - 2017
      c/o Hillwood Alliance Sevices LLC                                                               Unsecured loan repayments
                                                         Nov - 2017
      Street                                                                                          Suppliers or vendors
      13600 Heritage Parkway, Suite 200                                                               Services
      Fort Worth                    TX      76177                                                     Other Lease
      City                          State   ZIP Code

      Creditor's name and address                        Dates           Total amount or value    Reasons for payment or transfer
                                                                                                  Check all that apply
3.10. Kwangjin Park                                      Sept - 2017          $30,000.00              Secured debt
      Creditor's name                                    Oct - 2017
      1032 Hosington Dr                                                                               Unsecured loan repayments
                                                         Nov - 2017
      Street                                                                                          Suppliers or vendors
                                                                                                      Services
      Plano                         TX      75094                                                     Other
      City                          State   ZIP Code

      Creditor's name and address                        Dates           Total amount or value    Reasons for payment or transfer
                                                                                                  Check all that apply
3.11. Green Bank, N.A.                                   Sept - 2017          $97,532.95              Secured debt
      Creditor's name                                    Oct - 2017
      4000 Greenbriar St                                                                              Unsecured loan repayments
                                                         Nov - 2017
      Street                                                                                          Suppliers or vendors
                                                                                                      Services
      Houston                       TX      77098-5204                                                Other
      City                          State   ZIP Code

      Creditor's name and address                        Dates           Total amount or value    Reasons for payment or transfer
                                                                                                  Check all that apply
3.12. Yezone                                             Sept - 2017         $320,898.50              Secured debt
      Creditor's name                                    Oct - 2017
      RM409, JinChen Plaza                                                                            Unsecured loan repayments
                                                         Nov - 2017
      Street                                                                                          Suppliers or vendors
      Baiyun District                                                                                 Services
                                                                                                      Other
      City                          State   ZIP Code

      Creditor's name and address                        Dates           Total amount or value    Reasons for payment or transfer
                                                                                                  Check all that apply
3.13. Q1 Supply                                          Sept - 2017           $7,130.00              Secured debt
      Creditor's name
      Unit 1201 Ricky Center                                                                          Unsecured loan repayments
      Street                                                                                          Suppliers or vendors
      Chung Yip St 36                                                                                 Services
                                                                                                      Other
      City                          State   ZIP Code




Official Form 207              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 3
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Debtor         EG2 Mobile Technology, LLC                                                   Case number (if known)
               Name

      Creditor's name and address                                 Dates            Total amount or value       Reasons for payment or transfer
                                                                                                               Check all that apply
3.14. Si Kang Global Trading Limited                              Sept - 2017           $129,290.00                 Secured debt
      Creditor's name                                             Oct - 2017
      7/F, Spa Centre                                                                                               Unsecured loan repayments
                                                                  Nov - 2017
      Street                                                                                                        Suppliers or vendors
      53-55 Lockhart Road                                                                                           Services
      Wanchai, HK Wanchai               HK                                                                          Other
      City                              State   ZIP Code

      Creditor's name and address                                 Dates            Total amount or value       Reasons for payment or transfer
                                                                                                               Check all that apply
3.15. JPI Corporation                                             Oct - 2017             $13,500.00                 Secured debt
      Creditor's name
      1207 Hyundai Office Bldg                                                                                      Unsecured loan repayments
      Street                                                                                                        Suppliers or vendors
      9-4, Sunae-Dong,                                                                                              Services
                                                                                                                    Other
      City                              State   ZIP Code

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


         None

      Insider's name and address                                  Dates            Total amount or value       Reasons for payment or transfer
 4.1. Kyu Taek Cho                                                Dec 2016              $184,618.17
      Insider's name                                              to Nov 2017
      24 Burning Hollow Rd
      Street


      Saddle River                      NJ      07458
      City                              State   ZIP Code

      Relationship to debtor



      Insider's name and address                                  Dates            Total amount or value       Reasons for payment or transfer
 4.2. Kwangjin Park                                               Dec 2016              $120,000.00
      Insider's name                                              to Nov 2017
      1032 Hostington Dr
      Street


      Plano                             TX      75094
      City                              State   ZIP Code

      Relationship to debtor




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Debtor         EG2 Mobile Technology, LLC                                                    Case number (if known)
               Name

5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.

         None

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.

         None

 Part 3:        Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.

         None

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

         None

 Part 4:        Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

         None

 Part 5:        Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

         None




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Debtor          EG2 Mobile Technology, LLC                                                 Case number (if known)
                Name


 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

          None

         Who was paid or who received the transfer?            If not money, describe the property              Dates                Total amount
                                                               transferred                                                           or value
 11.1. Linz & Chandler, P.C.                                                                                    9/12/2017               $5,000.00

         Address

         701 Commerce Street
         Street
         Suite 400

         Dallas                       TX      72020
         City                         State   ZIP Code

         Email or website address
         MFL@Linz-Law.com

         Who made the payment, if not debtor?



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

          None

 Part 7:          Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply




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Debtor        EG2 Mobile Technology, LLC                                                 Case number (if known)
              Name


 Part 8:        Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to Part 9.
         Yes. Fill in the information below.

 Part 9:        Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

         No.
         Yes. State the nature of the information collected and retained

                Does the debtor have a privacy policy about that information?
                   No.
                   Yes.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                  No. Go to Part 10.
                  Yes. Fill in below:

 Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

         None

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

         None




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Debtor       EG2 Mobile Technology, LLC                                                     Case number (if known)
             Name

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

         None

 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


         None

 Part 12:       Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
   the medium affected (air, land, water, or any other medium).


   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
   formerly owned, operated, or utilized.

   Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
   similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

         No
         Yes. Provide details below.

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

         No
         Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

         No
         Yes. Provide details below.

 Part 13:       Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

         None




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Debtor       EG2 Mobile Technology, LLC                                                     Case number (if known)
             Name

26. Books, records, and financial statements

    26a.    List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                None

               Name and address                                                                     Dates of service

      26a.1. Thomas Sim, CPA                                                                        From                      To
               Name
               3010 Lundon B Johnson Frwy
               Street
               Suite 130

               Dallas                                         TX          75234
               City                                           State       ZIP Code

    26b.    List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
            statement within 2 years before filing this case.

                None

               Name and address                                                                     Dates of service

      26b.1. Thomas Sim, CPA                                                                        From                      To
               Name
               3010 Lyndon B Johnson Frwy
               Street
               Suite 130
               Dallas                                         TX          75234
               City                                           State       ZIP Code

    26c.    List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                None

               Name and address                                                                  If any books of account and records are
                                                                                                 unavailable, explain why
         26c.1. Thomas Sim, CPA
               Name
               3010 Lyndon B Johnson Frwy
               Street
               Suite 130
               Dallas                                         TX          75234
               City                                           State       ZIP Code

    26d.    List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
            financial statement within 2 years before filing this case.

                None

               Name and address

      26d.1. Green Bank, N.A.
               Name
               4000 Greenbriar St
               Street


               Houston                                        TX          77098-5204
               City                                           State       ZIP Code




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Debtor          EG2 Mobile Technology, LLC                                                Case number (if known)
                Name

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

          No.
          Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                      Address                                    Position and nature of any interest       % of interest, if any

Steve Lee                                 1016 Damsel Caroline Dr                                                                      46.2%
                                          Lewsiville, TX 75056
Hawk Jung                                 6811 Lee Meadow Dr                                                                           46.2%
                                          Frisco, TX 75035
Raymond M Clark                           1537 Roanoke Rd                                                                               3.8%
                                          Keller, TX 76262
Jeffrey B. Taylor                         6007 Lansford Ln                                                                              3.8%
                                          Colleyville, TX 76034
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

          No
          Yes. Identify below.

Name                                      Address                                    Position and nature of       Period during which position
                                                                                     any interest                 or interest was held
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

          No
          Yes. Identify below.

         Name and address of recipient                Amount of money or description           Dates            Reason for
                                                      and value of property                                     providing the value


 30.1. Kyu Taek Cho                                   Loan, Repurchase & Interest              Dec 2016
         Name                                         $184,618.17                              to Nov 2017
         24 Burning Hollow Rd
         Street


         Saddle River            NJ      07458
         City                    State   ZIP Code

         Relationship to debtor




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Debtor          EG2 Mobile Technology, LLC                                               Case number (if known)
                Name

         Name and address of recipient                  Amount of money or description       Dates            Reason for
                                                        and value of property                                 providing the value


 30.2. Kwangjin Park                                    Buyout Agreement                     Dec 2017
         Name                                           $120,000.00                          to Nov 2017
         1032 Hostington Dr
         Street


         Plano                   TX      75094
         City                    State   ZIP Code

         Relationship to debtor



31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
          Yes. Identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
          Yes. Identify below.

 Part 14:         Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 12/18/2017
            MM / DD / YYYY
X /s/ Steve Lee                                                              Printed name Steve Lee
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    No
    Yes




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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             NORTHERN DISTRICT OF TEXAS
                                                                FORT WORTH DIVISION
In re EG2 Mobile Technology, LLC                                                                                                    Case No.

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $5,000.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $5,000.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   Adversary proceedings, contested matters, motion to lift stay, lien avoidence, amendments to pleadings,
   reaffirmations, redemptions and adjourned hearings.




                                                          CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.


                    12/18/2017                       /s/ Michael F. Linz
                       Date                          Michael F. Linz                            Bar No. 12393800
                                                     Linz & Chandler, P.C.
                                                     701 Commerce
                                                     Suite 400
                                                     Dallas, TX 75202
                                                     Phone: (214) 748-1948 / Fax: (214) 748-9449
                                                     MFL@Linz-Law.com


    /s/ Steve Lee
  Steve Lee
  CEO
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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                            FORT WORTH DIVISION
  IN RE:   EG2 Mobile Technology, LLC                                                 CASE NO

                                                                                      CHAPTER   7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 12/18/2017                                          Signature    /s/ Steve Lee
                                                                     Steve Lee
                                                                     CEO


Date                                                     Signature
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                          8x8, Inc
                          2125 O'Nel Dr
                          San Jose, CA 95131



                          Airgas USA LLC
                          PO Box 676015
                          Dallas, TX 75267-6015



                          Alleviance Inc
                          2000 E Lamar Blvd
                          Suite 320
                          Arlington, TX 76006


                          At Industrial Owner 7 LLC
                          c/o Hillwood Alliance Services LLA
                          13600 Hertiage Parkway, Suite 200
                          Fort Worth, TX 76177


                          Atmos Energy
                          2607 Logan St
                          Dallas, TX 75215



                          CEKO Co, Ltd
                          4F Joong'Il, Eines Platz III,
                          442-13 Sangdaewon-dong, Jungwon-gu,
                          Seongnam-si,Gyeonggi-do,Korea


                          Coway
                          2225 E Belt Line Rd
                          Suite 210
                          Carrollton, TX 75006


                          Crown Packaging Corp
                          PO Box 952339
                          St Louis, MO 63195



                          Effex Management Solutions, LLC
                          1302 Kingwood Drive
                          Kingwood, TX 77339-3038
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                          EZS Technology, Inc
                          915 Enterprise Blvd
                          Suite 100
                          Allen, TX 75013


                          Granite
                          100 Newport Ave Ext.
                          Quincy, MA 02171



                          Green Bank, N.A
                          4000 Greenbriar St
                          Houston, TX 77098-5204



                          Green Bank, N.A.
                          4000 Greenbriar St
                          Houston, TX 77098-5204



                          Guard Texas
                          PO Box 850356
                          Richardson, TX 75085-0356



                          Guardian
                          PO Box 824404
                          Philadelphia, PA 19182-4404



                          Hawk Jung
                          6811 Lee Meadow Dr
                          Frisco, TX 75035



                          Iones Co Ltd
                          2061 Anseong-daero
                          Gosam-myeon, Anseong, 17505
                          Gyeonggi-do, South Korea


                          JPI Corporation
                          1207 Hyundai Office Bldg
                          9-4 Sunae-dong, Bundang-Gu Seongnam-city
                          Gyeonggi-do, South Korea
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                          Kwangjin Park
                          1032 Hosington Dr
                          Plano, TX 75094



                          Kyu Taek Cho
                          24 Burning Hollow Rd
                          Saddle River, NJ 07458



                          MD Martin Staffing
                          PO Box 39000
                          San Francisco, CA 94139



                          Phisco
                          2364 Paseo De Las Americas 104-367
                          San Diego, CA 92154



                          Pronto
                          7420 S. Cooper Street
                          Arlington, TX 76001



                          Q1 Supply
                          Unit 1201 Ricky Center
                          Chung Yip St 36
                          Kuntong, Kowloon, Hong Kong


                          Si Kang Global Trading Limited
                          7/F, Spa Centre
                          53-55 Lockhart Road
                          Wan Chai, HK Wanchai, Hong Kong


                          Steve Lee
                          1016 Damsel Caroline Dr
                          Lewisville, TX 75056



                          Tailim Song Law Firm
                          13140 Coit Rd
                          Suite 350
                          Dallas, TX 75240
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                          Tara Energy
                          PO Box 301438
                          Dallas, TX 75303-1410



                          TD Industries
                          PO Box 300008
                          Dallas, TX 75303-0008



                          TestEquity, LLC
                          2434 McIver Lane
                          Carrollton, TX 75006



                          The Hartford Financial Services Group
                          PO Box 660916
                          Dallas, TX 75266-0916



                          Top Trans Logistics, LLC
                          4500 Satellite Blvd
                          Suite 2200
                          Duluth, GA 30096


                          Toyota Financial Services
                          PO Box 8026
                          Cedar Rapids, IA 52409-8026



                          Tyco Ingrated Security
                          4700 Exchange Court
                          Suite 300
                          Boca Raton, FL 33431


                          ULine
                          PO Box 88741
                          Chicago, IL 60680-1741



                          UPS
                          Lockbox 577
                          Carol Stream, IL 60132-0577
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                          Waste Management Hauling
                          PO Box 660345
                          Dallas, TX 76112-0345



                          XO Communications
                          8851 Sandy Pkwy
                          Sandy, UT 84070



                          Yezone
                          RM409, JinChen Plaza
                          Baiyun District
                          Guangzhou, China
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                                         UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF TEXAS
                                               FORT WORTH DIVISION
                                                                    §
IN RE:
                                                                    §
EG2 Mobile Technology, LLC                                          §             Case No.
                                                                    §
                          Debtor(s)                                 §             Chapter      7


                       DECLARATION FOR ELECTRONIC FILING OF BANKRUPTCY
                          PETITION, LISTS, STATEMENTS, AND SCHEDULES
PART I: DECLARATION OF PETITIONER:
As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation, partnership, or limited
liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of, the debtor in accordance with
the chapter of title 11, United States Code, specified in the petition to be filed electronically in this case. I have read the
information provided in the petition, lists, statements, and schedules to be filed electronically in this case and I HEREBY
DECLARE UNDER PENALTY OF PERJURY that the information provided therein, as well as the social security information
disclosed in this document, is true and correct. I understand that this Declaration is to be filed with the Bankruptcy Court within
five (5) business days after the petition, lists, statements, and schedules have been filed electronically. I understand that a
failure to file the signed original of this Declaration will result in the dismissal of my case.

      [Only include for Chapter 7 individual petitioners whose debts are primarily consumer debts] --
      I am an individual whose debts are primarily consumer debts and who has chosen to file under chapter 7. I am aware that
      I may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief available under each
      chapter, and choose to proceed under chapter 7.


      [Only include if petitioner is a corporation, partnership or limited liability company] --
      I hereby further declare under penalty of perjury that I have been authorized to file the petition, lists, statements, and
      schedules on behalf of the debtor in this case.


Date: 12/18/2017                  /s/ Steve Lee
                                  Steve Lee
                                  CEO
                                  Complete EIN: XX-XXXXXXX

PART II: DECLARATION OF ATTORNEY:
I declare UNDER PENALTY OF PERJURY that: (1) I will give the debtor(s) a copy of all documents referenced by Part I herein
which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual with primarily
consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained
the relief available under each such chapter.

Date: 12/18/2017                                                    /s/ Michael F. Linz
                                                                    Michael F. Linz, Attorney for Debtor
                                                                    Linz & Chandler, P.C.
                                                                    701 Commerce
                                                                    Suite 400
                                                                    Dallas, TX 75202
                                                                    Email: MFL@Linz-Law.com
                                                                    Phone: (214) 748-1948 / Fax: (214) 748-9449
